                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:06CV280-MU-02
                            (3:02CR242-MU)


TROY LAMAR MORTON,            )
     Petitioner,              )
                              )
       v.                     )                    ORDER
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)

     THIS MATTER comes before the Court on what appears to be the

petitioner’s third collateral challenge to his 2003 criminal

case, this one captioned as a “Petitioner’s Motion Requesting

Certificate Of Appea[l]ability Review Pursuant To Local Rule

22(a)”[sic], filed March 7, 2006 (document # 1) and amended by

pleadings filed March 8 and March 9, 2006 (documents ## 2-3).

Not surprisingly, however, for the reasons stated herein the

instant Motion, which has been construed as a motion to vacate

under 28 U.S.C. §2255, shall be dismissed due to the Court’s lack

of authority to entertain such motion.

     According to pertinent Court records, on July 10, 2003,

pursuant to the terms of his written Plea Agreement with the go-

vernment, the petitioner pled guilty to one count of conspiracy

to possess with intent to distribute quantities of cocaine, meth-

amphetamine and marijuana.     Next, on November 18, 2003, this

Court sentenced the petitioner to a term of 240 months imprison-

ment.   The Court’s Judgment of Conviction was filed January 6,



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2004.

     The petitioner did not directly appeal either his conviction

or sentence.   Therefore, those matters became final on or about

January 20, 2004–-that is, at the expiration of the brief period

during which the petitioner could have given his notice of appeal

in this case had he chosen to do so.

     Rather than filing an appeal, on November 10, 2004, the

petitioner filed his first Motion to Vacate under 28 U.S.C.

§2255, alleging a claim of ineffective assistance of counsel.

However, such Motion to Vacate was denied by this Court’s Order

of April 5, 2005.   Once again, the petitioner did not appeal that

decision.

     Instead, on October 24, 2005, the petitioner filed a docu-

ment captioned as “Petitioner’s Entitlement to Redress Pursuant

To Federal Rule Of Civil Procedure 60(b)(6).”         Despite its mis-

leading caption, by that document the petitioner again was seek-

ing collateral review of his criminal case inasmuch as he argued

that his plea hearing was flawed due to the Court’s alleged fail-

ure to make certain determinations about his prior convictions.

Consequently, this Court determined, consistent with United

States v. Winestock, 340 F.3d 200 (4th Cir.), cert. denied, 540

U.S. 995 (2003), that the petitioner’s pleading had to be

addressed as a successive motion to vacate, and it also had to be

summarily dismissed due to his failure to obtain pre-filing


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authorization for it as required by 28 U.S.C. §2244.           Thus, the

Court dismissed that motion on November 15, 2005.

     Following that dismissal, however, the petitioner broke with

his tradition and filed an appeal with the Fourth Circuit Court

of Appeals.   Nevertheless, on February 23, 2006, the Court of

Appeals dismissed the petitioner’s appeal on the ground that he

had failed to make a substantial showing that any of his consti-

tutional rights had been denied.

     Most critically, the Court of Appeals also construed the

petitioner’s notice of appeal as an “informal brief on appeal as

an application to file a second or successive motion to vacate

under 28 U.S.C. §2255.”      However, the appellate Court also denied

that motion on the ground that the petitioner had failed to meet

any of the requirements for a successive motion as identified in

28 U.S.C. §2244(b)(2).

     Apparently undaunted by his lack of success, the petitioner

now has filed the instant Motion (and amendments), claiming that

he is seeking a certificate of appealability.         However, the peti-

tioner has failed to identify–-and this Court has been unable to

find--any Orders which currently are subject to appeal.            There-

fore, such Motion appears to be yet another thinly-veiled attempt

by the petitioner to collaterally challenge his underlying con-

viction and/or sentence.

     To be sure, in the instant Motion, the petitioner argues,


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inter alia, that he “is actually and factually innocent of being

a Career Offender”; that he is “actually and factually innocent

of possession of a firearm during and in relation to drug traf-

ficking . . . “; and that this Court “lacked subject matter

jurisdiction to impose a sentence in that the United States

Sentencing Guidelines were unconstitutional at the time of the

sentence . . . .”     Therefore, based upon those claims, the Court

finds that it must construe this document as a de facto motion to

vacate.1

      However, as the petitioner by now is aware, the law is clear

under 28 U.S.C. §2244(3)(A) that “[b]efore a second or successive

application permitted by this section is filed in the district

court, the applicant shall move the appropriate court of appeals

for an order authorizing the district court to consider the

application.”     Accordingly, because the record conclusively shows

that the petitioner has not obtained authorization from the

Fourth Circuit Court of Appeals to bring this action, this suc-

cessive motion to vacate must be dismissed as unauthorized.

      Out of an abundance of caution, however, the Court further

finds that if the instant Motion, in fact, was intended to be


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       As was explained in the Court’s November 2005 Order addressing the
petitioner’s second motion to vacate, it is not necessary for the Court to
provide the petitioner with any notice as contemplated under United States v.
Emmanuel, 288 F.3d 644 (4 th Cir. 2002) because, unlike in Emmanuel, this is
not the petitioner’s first §2255. Therefore, the petitioner will not suffer
any adverse consequences merely as a result of the Court’s conversion of this
pleading to a motion to vacate. Id. at 650 (no notice required where rechar-
acterization has no adverse impact on movant).

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nothing more than an attempt to obtain a certificate of appeal-

ability so that the petitioner could pursue a direct appeal of

his 2003 conviction and/or sentence, such Motion must be denied

in any event.    That is, as the record reflects, this Court’s

Judgment of Conviction was entered in January 2004.           Clearly,

therefore, the petitioner’s time for a direct appeal already has

expired.    Moreover, it has not escaped this Court’s attention

that no certificate of appealability even is required before a

defendant can directly appeal matters in his criminal case.

Thus, that is yet another reason why such a Motion should be

denied.

     Finally, to the extent that the instant Motion is an attempt

by the petitioner to obtain a certificate of appealability so

that he can appeal this Court’s Order of April 2005--by which it

denied his first Motion to Vacate--such Motion still should be

denied.    Indeed, the 60-day period during which the petitioner

could have sought appellate review of that Order has long ago

expired.    Furthermore, the petitioner has waited to file this

Motion outside of all conceivable periods during which either an

extension of time could have been granted or the time to file an

appeal could have been reopened. See Fed.R.App.P. 4.

     In sum, then, it does not matter whether the petitioner is

making his third attempt at obtaining collateral review of his

2003 conviction and/or sentence, or whether he is belatedly


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seeking to obtain direct review of this Court’s 2005 Order of

dismissal, he is not entitled to proceed.        Therefore, any and all

such attempts will be rejected.

     NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

     1.   To the extent that this Motion and its amendments (docu-

ments ## 1-3) were intended as a motion to vacate, such motion is

DISMISSED for the petitioner’s failure to obtain authorization

under 28 U.S.C. §2244.

     2.   To the extent that this Motion and its amendments were

intended as a request for a certificate of appealability in con-

nection with either this Court’s Judgment of Conviction in the

petitioner’s criminal case (3:02CR242, document # 185) or its

civil Judgment, dismissing his first Motion to Vacate (3:04CV566-

1, document # 9), such Motion is DENIED.

     SO ORDERED.



                                   Signed: March 20, 2006




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